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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                        TYLER DIVISION



 UNITED STATES OF AMERICA                         §

 Vs.                                              §           CRIMINAL ACTION 6:04CR74(3)

 RODNEY DEWAYNE MCMORRIS                          §

             FINDINGS OF FACT AND RECOMMENDATION ON FELONY GUILTY
                   PLEA BEFORE UNITED STATES MAGISTRATE JUDGE


        Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Judge for

 administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Civil

 Procedure.

        On the 28th day of January, 2005, this cause came before the undersigned United States

 Magistrate Judge for Guilty Plea and Allocution of the Defendant, Rodney Dewayne McMorris, on

 the 29-Count Indictment filed herein charging him with violations of Title 21, United States Code,

 Sections 846 and 841(a)(1). After conducting the proceeding in the form and manner prescribed by

 Fed.R.Crim.P. 11, the Court finds:

        a.      That the Defendant, after consultation with counsel of record, has knowingly and
                voluntarily consented to the administration of the Guilty Plea and Allocution in this
                cause by a United States Magistrate Judge subject to a final approval and imposition
                of sentence by the District Judge.

        b.      That the Defendant pled guilty to Count 1 of the Indictment, pursuant to a plea
                agreement with the Government which has been filed and disclosed in open court
                pursuant to Fed.R.CrimP. 11(c)(2). Count 1 of the Indictment charges the Defendant
                with conspiracy to possess with intent to distribute and distribution of over 50 grams


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                  of cocaine base, in violation of Title 21, United States Code, Section 846.

         c.       That the Defendant is fully competent and capable of entering an informed plea, that
                  the Defendant is aware of the nature of the charges and the consequences of the plea,
                  and that the plea of guilty is a knowing and voluntary plea supported by an
                  independent basis in fact containing each of the essential elements of the offense.

         IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Judge accept the Plea Agreement and the Guilty Plea of the Defendant, and

 that the Defendant, RODNEY DEWAYNE MCMORRIS, be finally adjudged guilty of that

 offense.

         The United States District Clerk shall serve a copy of this proposed Findings of Fact and

 Recommendation on all parties by sending a notice of electronic filing and retain the receipt of notice

 of electronic filing.


              So ORDERED and SIGNED this 28 day of January, 2005.



                                                          ____________________________
                                                          JUDITH K. GUTHRIE
                                                          UNITED STATES MAGISTRATE JUDGE




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